Case 2:19-cv-13094-TGB-EAS ECF No. 4, PageID.28 Filed 10/29/19 Page 1 of 23




               IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION

MARK W. DOBRONKSI,
                                          Case No. 19-cv-13094
             Plaintiff,
                                          Honorable Marianne O. Battani
-vs-                                      Magistrate Judge Elizabeth A. Stafford

SUNPATH LTD., ET AL.

          Defendant.
________________________________/

                    DEFENDANTS’ MOTION TO DISMISS
       Pursuant to Fed. R. Civ. P. 12(b)(2) and 12(b)(6), defendants SunPath Ltd.

(“SunPath”), Andrew M. Garcia (“Mr. Garcia”), and Joseph A. Abraham (“Mr.

Abraham”) (collectively, “Defendants”), by counsel, hereby move this Court to

dismiss this case in its entirety against all Defendants for lack of personal

jurisdiction or, in the alternative, to dismiss certain counts in the Complaint for

failing to state a claim upon which relief may be granted. In support of their

Motion to Dismiss (“Motion”), Defendants state the following:

       1.    On September 24, 2019, Plaintiff Mark W. Dobronski (“Plaintiff”)

filed this action seeking damages from Defendants.

       2.    Plaintiff’s Complaint alleges he received fourteen (14) phone calls

(the “Subject Calls”) to his cell phone made by Defendants in violation of the

Telephone Consumer Protection Act (“TCPA”), 47 U.S.C. §§ 227, et sec.
Case 2:19-cv-13094-TGB-EAS ECF No. 4, PageID.29 Filed 10/29/19 Page 2 of 23




      3.     On October 22, 2019, Defendants removed the case to this Court.

      4.     Pursuant to Fed. R. Civ. P. 12(b)(2), Defendants seek dismissal of the

case with prejudice for lack of personal jurisdiction. In the alternative, pursuant to

Fed. R. Civ. P. 12(b)(6), Defendants seek dismissal of Count III for failure to state

a claim upon which relief may be granted. Specifically, there is no private right of

action on which Plaintiff may bring the claim set forth in Count III.

      5.     On October 29, 2019, pursuant to Local Rule 7.1(a), the undersigned

attempted to confer with Plaintiff by telephoning the number printed on the

summons (upon information and belief, Plaintiff’s business number), to explain the

nature of, and legal basis for, this Motion. The undersigned identified herself to the

woman who answered the phone and asked to speak with Plaintiff. The

undersigned was informed that Mr. Dobronski was unavailable and his future

availability was unknown. The undersigned explained that she was calling to

discuss a matter of importance relating to this matter and asked that Mr. Dobronski

return the call as soon as possible. The undersigned followed up with an email to

Mr. Dobronski that explained the nature of this Motion and its legal basis, and

requested his concurrence in the relief requested. At the time this Motion was filed,

Mr. Dobronski had not responded by telephone or email.




                                          2
Case 2:19-cv-13094-TGB-EAS ECF No. 4, PageID.30 Filed 10/29/19 Page 3 of 23




                               Respectfully submitted,

                               MILLER, CANFIELD, PADDOCK AND
                               STONE, PLC

                               By:   /s/ Emily C. Palacios
                                     Emily C. Palacios (P64941)
                                     101 North Main Street, 7th Floor
                                     Ann Arbor, MI 48104
                                     (734) 668-7784
                                     (734) 747-7147
                                     palacios@millercanfield.com

                                     and

                                     Mitchell N. Roth (pro hac vice
                                     forthcoming)
                                     Genevieve C. Bradley (admitted)
                                     ROTH JACKSON
                                     8200 Greensboro Drive, Suite 820
                                     McLean, Virginia 22102
                                     (703) 485-3536
                                     (703) 485-3525
                                     mroth@rothjackson.com
                                     gbradley@rothjackson.com

                                     Counsel for Defendants SunPath Ltd.,
Date: October 29, 2019               Andrew M. Garcia, and Joseph A.
                                     Abraham




                                     3
Case 2:19-cv-13094-TGB-EAS ECF No. 4, PageID.31 Filed 10/29/19 Page 4 of 23




             IN THE UNITED STATES DISTRICT COURT
            FOR THE EASTERN DISTRICT OF MICHIGAN
                      SOUTHERN DIVISION

MARK W. DOBRONKSI,
                                      Case No. 19-cv-13094
          Plaintiff,
                                      Honorable Marianne O. Battani
-vs-                                  Magistrate Judge Elizabeth A. Stafford

SUNPATH LTD., ET AL.

          Defendant.

                   DEFENDANTS’ BRIEF IN SUPPORT
                     OF ITS MOTION TO DISMISS
 Case 2:19-cv-13094-TGB-EAS ECF No. 4, PageID.32 Filed 10/29/19 Page 5 of 23




                                               TABLE OF CONTENTS

TABLE OF AUTHORITIES ................................................................................... ii
MOST APPROPRIATE/CONTROLLING LAW ...................................................iv
QUESTIONS PRESENTED ..................................................................................... v
I.      STATEMENT OF FACTS ............................................................................. 1
II.     ARGUMENT .................................................................................................. 1
        A.        INTRODUCTION ................................................................................ 2
        B.        LEGAL STANDARD .......................................................................... 3
                  1.        Rule 12(b)(2) .............................................................................. 3
                  2.        Rule 12(b)(6) .............................................................................. 3
        C.        ARGUMENT ....................................................................................... 4
                  1.        This Court Should Dismiss the Complaint for Lack of
                            Personal Jurisdiction Over Defendants ...................................... 4
                            a.        This Court lacks general personal jurisdiction over
                                      Defendants ....................................................................... 5
                            b.        This Court lacks specific personal jurisdiction over
                                      Defendants ....................................................................... 7
        D.        NOTWITHSTANDING THE LACK OF PERSONAL
                  JURISDICTION OVER DEFENDANTS, COUNT III FAILS
                  TO STATE A CLAIM UPON WHICH RELIEF MAY BE
                  GRANTED AND SHOULD BE DISMISSED WITH
                  PREJUDICE .......................................................................................11
III.    CONCLUSION ........................................................................................................... 13




                                                               i
 Case 2:19-cv-13094-TGB-EAS ECF No. 4, PageID.33 Filed 10/29/19 Page 6 of 23




                                            TABLE OF AUTHORITIES

                                                                                                                  Page(s)

Cases
Ashcroft v. Iqbal, 556 U.S. 662 (2009) ...................................................................... 4

Bristol-Myers Squibb Co. v. Superior Court of Cal., San Francisco
   Cty., 137 S. Ct. 1773 (2017) ............................................................................. 7, 8

Calphalon Corp. v. Rowlette, 228 F.3d 718 (6th Cir. 2000) .....................8, 9, 10, 11

Commc’ns. Network Billing v. ILD Telecomms., Inc., Civil Case No.
  17-10260, 2017 U.S. Dist. LEXIS 130408 (E.D. Mich. Aug. 16,
  2017) ............................................................................................................passim

Daimler AG v. Bauman, 571 U.S. 117 (2014) ........................................................... 6

League of United Latin Am. Citizens v. Bredesen, 500 F.3d 523 (6th
   Cir. 2007) .............................................................................................................. 4

Meyer v. Capital All. Grp., Case No.: 15-CV-2405-WVG, 2017 U.S.
  Dist. LEXIS 183690 (S.D. Cal. Nov. 6, 2017) .................................................. 12

Pilipovic v. Doe, Case No. 19-12033, 2019 U.S. Dist. LEXIS 160242
   (E.D. Mich. Sept. 19, 2019) ..........................................................................3, 6, 7

Serras v. First Tenn. Bank Nat’l Ass’n, 875 F.2d 1212 (6th Cir. 1989) .................... 3

Weller v. Cromwell Oil Co., 504 F.2d 927 (6th Cir. 1974) ....................................... 9

Worsham v. Travel Options, Inc., CIVIL NO. JKB-14-2749, 2016
  U.S. Dist. LEXIS 118774 (D. Md. Sept. 2, 2016) .............................................. 12

Statutes
47 U.S.C. §§ 227(b)(3)............................................................................................. 12

47 U.S.C. § 227(c)(5) ............................................................................................... 12

Rules
Fed. R. Civ. P. 12(b)(2).......................................................................................... 1, 3


                                                             ii
 Case 2:19-cv-13094-TGB-EAS ECF No. 4, PageID.34 Filed 10/29/19 Page 7 of 23




Fed. R. Civ. P. 12(b)(6).......................................................................................... 1, 3

Rule 8(a)(2) of the Federal Rules of Civil Procedure ................................................ 3

Constitutional Provisions
Fourteenth Amendment ............................................................................................. 5

Other Authorities
47 C.F.R. § 64.1601(e)...................................................................................1, 11, 12

47 C.F.R. § 64.1601(e)(1) ........................................................................................ 12




                                                         iii
Case 2:19-cv-13094-TGB-EAS ECF No. 4, PageID.35 Filed 10/29/19 Page 8 of 23




               MOST APPROPRIATE/CONTROLLING LAW


Serras v. First Tenn. Bank, Nat’l Ass’n, 875 F.2d 1212 (6th Cir. 1989)

Daimler AG v. Bauman, 571 U.S. 117 (2014)

Calphalon Corp. v. Rowlette, 228 F.3d 718 (6th Cir. 2000)

Weller v. Cromwell Oil Co., 504 F.2d 927 (6th Cir. 1974)




                                        iv
Case 2:19-cv-13094-TGB-EAS ECF No. 4, PageID.36 Filed 10/29/19 Page 9 of 23




                           QUESTIONS PRESENTED

       A.     Does this Court lack personal jurisdiction over each defendant in this
case, all of whom reside in Massachusetts and have no involvement in the alleged
unlawful telephone calls?

      Defendants answer:                                  Yes.

      Plaintiff answers:                                  No.

      The Court should answer:                            Yes.

      B.    Notwithstanding, if the Court finds that there is personal jurisdiction
over any defendant, should Counts II, III, and IV be dismissed for failure to state a
claim?

      Defendants answer:                                  Yes.

      Plaintiff answers:                                  No.

      The Court should answer:                            Yes.




                                         v
Case 2:19-cv-13094-TGB-EAS ECF No. 4, PageID.37 Filed 10/29/19 Page 10 of 23



                          I.     STATEMENT OF FACTS
       1.       Plaintiff filed this action for damages against Defendants SunPath,

Mr. Garcia, and Mr. Abraham on September 24, 2019. Plaintiff’s claims arise out

of fourteen (14) alleged telephone calls to his cell phone (“Subject Calls”) that he

claims violated the TCPA’s restrictions on calls to cell phones and the do-not-call

restrictions.

       2.       SunPath is a Delaware corporation with its only principal office

located in Massachusetts.        Mr. Garcia and Mr. Abraham reside solely in

Massachusetts.

       3.       Whatever merit to Plaintiff’s claims that the Subject Calls were

unlawful, none of the Defendants were involved in the Subject Calls. SunPath

does not make outbound telemarketing calls and did not call Plaintiff’s line.

Likewise, Mr. Garcia and Mr. Abraham did not oversee or participate in the

Subject Calls.

                                 II.   ARGUMENT
       Defendants move this Court to dismiss the Complaint pursuant to Fed. R.

Civ. P. 12(b)(2) or, alternatively, to dismiss Count III pursuant to Fed. R. Civ. P.

12(b)(6).       There is neither general nor specific personal jurisdiction over

Defendants.       Moreover, there is no private right of action for 47 C.F.R. §

64.1601(e) cited in Count III.




                                          1
Case 2:19-cv-13094-TGB-EAS ECF No. 4, PageID.38 Filed 10/29/19 Page 11 of 23




      A.     INTRODUCTION


      SunPath is corporation formed in Delaware and headquartered in Braintree,

Massachusetts. It is a third party administrator of extended service contracts for

automobiles. In other words, it is engaged in the business of servicing incoming

claims by customers and providing customer service for existing customers.

SunPath does not engage in outbound telemarketing whatsoever. Unfortunately for

Mr. Garcia and Mr. Abraham, Plaintiff (a prolific professional plaintiff in his own

right) discovered that they are officers of SunPath and on that basis alone named

them as defendants in this lawsuit as well. Neither Mr. Garcia nor Mr. Abraham

are residents of the State of Michigan. Both reside full time in Massachusetts.

They do not oversee or control any SunPath outbound telemarketing calls because

– as stated above – SunPath does not make outbound telemarketing calls. None of

the Defendants made the Subject Calls. Accordingly, there is no basis on which

this Court may exercise personal jurisdiction over any of the Defendants.

      Notwithstanding the lack of personal jurisdiction over Defendants, Count III

also fails to state a claim upon which relief may be granted. Specifically, the

technical and procedural regulations cited in this Count does not contain a private

right of action by which Plaintiff can maintain the claim. Therefore, as set forth in

more detail below, Count III must be dismissed with prejudice.




                                         2
Case 2:19-cv-13094-TGB-EAS ECF No. 4, PageID.39 Filed 10/29/19 Page 12 of 23




      B.     LEGAL STANDARD

             1.    Rule 12(b)(2)
      A “plaintiff always bears the burden of establishing that [personal]

jurisdiction exists.” Serras v. First Tenn. Bank Nat’l Ass’n, 875 F.2d 1212, 1214

(6th Cir. 1989) (citing McNutt v. Gen. Motors Acceptance Corp., 298 U.S. 178,

189 (1936)). When confronted with a motion to dismiss, a plaintiff must “‘set

forth specific facts showing that the court has jurisdiction.’” Pilipovic v. Doe,

Case No. 19-12033, 2019 U.S. Dist. LEXIS 160242, at *2 (E.D. Mich. Sept. 19,

2019) (quoting Theunissen v. Matthews, 935 F.2d 1454, 1458 (6th Cir. 1991)).

The district court “may proceed by relying solely on written submissions and

affidavits to resolve the jurisdictional questions or it may permit limited discovery

or hold an evidentiary hearing in aid of the motion.” Commc’ns. Network Billing

v. ILD Telecomms., Inc., Civil Case No. 17-10260, 2017 U.S. Dist. LEXIS 130408,

at *2 (E.D. Mich. Aug. 16, 2017) (citing Serras, 875 F.2d at 1214).

             2.    Rule 12(b)(6)
      Rule 8(a)(2) of the Federal Rules of Civil Procedure requires that a pleading

contain “a short and plain statement of the claim showing that the pleader is

entitled to relief.” A pleading that offers merely “labels and conclusions,” a

“formulaic recitation of the elements of a cause of action,” or “naked assertions

devoid of further factual enhancement” does not meet the requirements of the Rule.



                                         3
Case 2:19-cv-13094-TGB-EAS ECF No. 4, PageID.40 Filed 10/29/19 Page 13 of 23




Ashcroft v. Iqbal, 556 U.S. 662, 677–78 (2009) (quoting Bell Atlantic Corp. v.

Twombly, 550 U.S. 544, 555-57 (2007)) (internal quotation marks omitted).

      To survive a motion to dismiss, a complaint must contain sufficient facts,

taken as true, to “state a claim to relief that is plausible on its face.” Iqbal, 556

U.S. at 678 (quoting Twombly, 550 U.S. at 570) (internal quotation marks omitted).

A claim has facial plausibility when the pleaded factual content allows “the court

to draw the reasonable inference that the defendant is liable for the misconduct

alleged.” Iqbal, 556 U.S. at 678 (citing Twombly, 550 U.S. at 556). Furthermore,

“[t]hreadbare recitals of the elements of a cause of action, supported by mere

conclusory statements,” are insufficient to withstand a motion to dismiss. Iqbal,

556 U.S. at 678 (citing Twombly, 550 U.S. at 555).           In sum, “[t]he factual

allegations, assumed to be true, must do more than create speculation or suspicion

of a legally cognizable cause of action; they must show entitlement to relief.”

League of United Latin Am. Citizens v. Bredesen, 500 F.3d 523, 527 (6th Cir.

2007) (citing Twombly, 550 U.S. at 555).

      C.     ARGUMENT

             1.    This Court Should Dismiss the Complaint for Lack of
                   Personal Jurisdiction Over Defendants.

      This Court may exercise personal jurisdiction over nonresident defendants

like SunPath, Mr. Garcia, and Mr. Abraham only to the extent permitted by the



                                           4
Case 2:19-cv-13094-TGB-EAS ECF No. 4, PageID.41 Filed 10/29/19 Page 14 of 23




long-arm statute of the forum state and by the Due Process Clause of the

Fourteenth Amendment. ILD Telecomms., 2017 U.S. Dist. LEXIS 130408 at *2

(citing Reynolds v. Int’l Amateur Athletic Fed’n, 23 F.3d 1110, 1115 (6th Cir.

1994); Welsh v. Gibbs, 631 F.2d 436, 439 (6th Cir. 1980)).              Michigan is

understood “‘to intend its long-arm statute to extend to the boundaries of the

fourteenth amendment.’” ILD Telecomms., 2017 U.S. Dist. LEXIS 130408 at *2

(quoting Children’s Legal Servs., PLLC v. Shor Levin & DeRita, PC, 850 F. Supp.

2d 673, 679 (6th Cir. 2012)).      Accordingly, this Court “need only determine

whether exercising personal jurisdiction violates constitutional due process.” Id. at

*2-3 (internal quotation marks omitted). To satisfy due process in this case, there

must be “certain minimum contacts” with Michigan such that maintaining the suit

here “does not offend ‘traditional notions of fair play and substantial justice.’” ILD

Telecomms., 2017 U.S. Dist. LEXIS 130408 at *3 (quoting Int’l Shoe Co. v.

Washington, 326 U.S. 310 (1945)).

                   a.     This Court lacks general personal jurisdiction over
                          Defendants.


      Personal jurisdiction exists in two forms: either general or specific

jurisdiction. Id. For individuals such as Mr. Garcia and Mr. Abraham, “‘the

paradigm forum for the exercise of general jurisdiction is the individual’s

domicile.’”   ILD Telecomms., 2017 U.S. Dist. LEXIS 130408 at *3 (quoting



                                          5
Case 2:19-cv-13094-TGB-EAS ECF No. 4, PageID.42 Filed 10/29/19 Page 15 of 23




Goodyear Dunlop Tires Operations, S.A. v. Brown, 564 U.S. 915, 924 (2011)).

For a corporate entity such as SunPath, general jurisdiction may be exercised if the

entity’s “affiliations with the State are so ‘continuous and systematic’ as to render

[it] . . . essentially at home in the forum State.” Id. (quoting Goodyear, 564 U.S. at

919). Thus, the “paradigm forum” of a corporation is the state where the entity

was incorporated or its principal place of business. Pilipovic, 2019 U.S. Dist.

LEXIS 160242 at *2-3 (quoting Goodyear, 564 U.S. at 924).                Crucially, a

corporation’s business activities generally in a state is insufficient alone to

establish general personal jurisdiction. Daimler AG v. Bauman, 571 U.S. 117, 123

(2014). Likewise, an entity operating nationwide “can scarcely be deemed at home

in all” fifty states. Id. at 139 n.20.

       Based on the foregoing Supreme Court precedent, none of the Defendants

can be considered “at home” in Michigan. True, accurate copies of declarations

executed by defendants Mr. Garcia and Mr. Abraham are attached as Exhibits 1

and 2, respectively.

       In their declarations, Mr. Garcia and Mr. Abraham both affirm that that they

reside in Massachusetts – not Michigan. Garcia Decl. ¶ 2, Abraham Decl. ¶ 2; see

ILD Telecomms., 2017 U.S. Dist. LEXIS 130408 at *3. (“[T]he paradigm forum

for the exercise of general jurisdiction is the individual’s domicile.”). Indeed, they

have never even owned or leased property in Michigan.             Garcia Decl. ¶ 2,



                                          6
Case 2:19-cv-13094-TGB-EAS ECF No. 4, PageID.43 Filed 10/29/19 Page 16 of 23




Abraham Decl. ¶ 2. Neither of them have ever visited Michigan. Garcia Decl. ¶ 2,

Abraham Decl. ¶ 2.

      Likewise, SunPath was incorporated in Delaware and its only principal place

of business is in Massachusetts – not Michigan. Garcia Decl. ¶ 3, Abraham Decl. ¶

3; See Pilipovic, 2019 U.S. Dist. LEXIS 160242 at *2-3 (noting that the “paradigm

forum” for a corporate entity is the state where was incorporated or its principal

place of business (quoting Goodyear, 564 U.S. at 924)). SunPath does not own or

lease any property in the state of Michigan. Garcia Decl. ¶ 4, Abraham Decl. ¶ 4.

Moreover, there are no office locations in Michigan where SunPath has ever

conducted operations of any kind, let alone substantial operations. Garcia Decl. ¶

5, Abraham Decl. ¶ 5.

      Therefore, it is clear that there is no general jurisdiction over any of the

Defendants and, without specific jurisdiction either, this case must be dismissed.

                   b.     This Court lacks specific personal jurisdiction over
                          Defendants.


      “In order for a state court to exercise specific jurisdiction, ‘the suit must

arise out of or relat[e] to the defendant’s contacts with the forum.” Bristol-Myers

Squibb Co. v. Superior Court of Cal., San Francisco Cty., 137 S. Ct. 1773, 1780

(2017) (quoting Daimler, 571 U.S. at 118).       Thus, there must be a connection




                                         7
Case 2:19-cv-13094-TGB-EAS ECF No. 4, PageID.44 Filed 10/29/19 Page 17 of 23




between the forum and the activities that give rise to the controversy. Id. (citing

Goodyear, 564 U.S. at 919).

      The Sixth Circuit uses a three-part test for whether a court may exercise

specific personal jurisdiction:

      First, the defendant must purposefully avail himself of the privilege of
      acting in the forum state or causing a consequence in the forum state.
      Second, the cause of action must arise from the defendant’s activities
      there. Finally, the acts of the defendant or consequences caused by
      the defendant must have a substantial enough connection with the
      forum state to make the exercise of jurisdiction over the defendant
      reasonable.

Calphalon Corp. v. Rowlette, 228 F.3d 718, 721 (6th Cir. 2000) (quoting Southern

Machine Co. v. Mohasco Indus., Inc., 401 F.2d 374, 381 (6th Cir. 1968)).

      First, and most problematic to Plaintiff’s case for specific jurisdiction,

neither Mr. Garcia, Mr. Abraham, nor SunPath made the Subject Calls, Garcia

Decl. ¶¶ 6,8, Abraham Decl. ¶¶ 6,8, which would be the entire basis for tying any

Defendant to Michigan. Indeed, SunPath is a third party administrator of extended

service contracts for automobiles. Garcia Decl. ¶ 9, Abraham Decl. ¶ 9. It is

engaged primarily in the business of handling incoming claims by customers and

customer service for existing customers. Garcia Decl. ¶ 9, Abraham Decl. ¶ 9.

SunPath does not engage in outbound telemarketing itself. Garcia Decl. ¶ 6,

Abraham Decl. ¶ 6. Moreover, none of the Defendants “caused” anyone to call

Plaintiff. Garcia Decl. ¶¶ 6-8, Abraham Decl. ¶¶ 6-8.



                                         8
Case 2:19-cv-13094-TGB-EAS ECF No. 4, PageID.45 Filed 10/29/19 Page 18 of 23




      Mr. Garcia is President of SunPath and Mr. Abraham is the Chief Operating

Officer of SunPath, both of whom supervise company operations.1 Garcia Decl. ¶

1, Abraham Decl. ¶ 1. However, because SunPath does not engage in outbound

telemarketing calls, it is clear that neither Mr. Garcia nor Mr. Abraham oversee or

control any SunPath outbound telemarketing calls. Garcia Decl. ¶¶ 6,8, Abraham

Decl. ¶¶ 6,8.

      Applying the factors from the Calphalon test, this Court lacks specific

personal jurisdiction over all of the Defendants. First, none of the Defendants

purposefully availed themselves of the “privilege of acting in the forum state or

causing a consequence in the forum state.” Calphalon, 228 F.3d at 721 (quoting

Southern Machine Co., 401 F.2d at 381). “A defendant ‘purposefully avails’

himself if his ‘contacts proximately result from the actions by the defendant

himself that create a substantial connection with the forum State.’”             ILD

Telecomms., 2017 U.S. Dist. LEXIS 130408 at *4 (quoting Burger King Corp. v.

Rudzewicz, 471 U.S. 462, 475 (1985)). These contacts cannot be “‘random,’”

“‘fortuitous,’” “‘attenuated,’” or the “‘unilateral activity of another party or third


      1
       “It is settled that jurisdiction over the individual officers of a corporation
cannot be predicated merely upon jurisdiction over the corporation.” Weller v.
Cromwell Oil Co., 504 F.2d 927, 929 (6th Cir. 1974) (citing Wilshire Oil Co. of
Texas v. Riffle, 409 F.2d 1277 (10th Cir. 1969); Path Instruments Int’l Corp. v.
Asahi Optical Co., 312 F. Supp. 805 (S.D.N.Y. 1970)).




                                          9
Case 2:19-cv-13094-TGB-EAS ECF No. 4, PageID.46 Filed 10/29/19 Page 19 of 23




person.’” Id. (quoting Burger King, 471 U.S. at 475). Yet, the Defendants do not

have any contacts that create a substantial connection with the state of Michigan.

Indeed, the only contacts SunPath has (and by extension, Mr. Garcia and Mr.

Abraham may have had) with consumers in the state of Michigan would be

SunPath’s receipt (not solicitation of) of inbound calls from existing customers

regarding claims on or questions regarding their extended vehicle warranties.

Garcia Decl. ¶ 9, Abraham Decl. ¶ 9.

      Receipt of these types of service calls is the definition of contacts resulting

from the “‘unilateral activity of another party of third person,’” which does not

amount to purposeful availment. ILD Telecomms., 2017 U.S. Dist. LEXIS 130408

at *4 (quoting Burger King, 471 U.S. at 475).

      Second, Calphalon instructs that, for specific personal jurisdiction to exist,

“the cause of action must arise from the defendant’s activities there.” Calphalon,

228 F.3d at 721 (quoting Southern Machine Co., 401 F.2d at 381).             Plainly,

Plaintiff’s claims that it received the Subject Calls in violation of the TCPA, etc.

do not arise out of Defendants’ activities administering extended vehicle

warranties, let alone such activities in Michigan.      Defendant does not make

outbound telemarketing calls and did not make the Subject Calls nor cause them to

be made by anyone else. Garcia Decl. ¶ 6, Abraham Decl. ¶ 6.




                                        10
Case 2:19-cv-13094-TGB-EAS ECF No. 4, PageID.47 Filed 10/29/19 Page 20 of 23




       Lastly, the final factor in the Calphalon test requires the Court to consider

whether “the acts of the defendant or consequences caused by the defendant . . .

have a substantial enough connection with the forum state to make the exercise of

jurisdiction over the defendant reasonable.” Calphalon, 228 F.3d at 721 (quoting

Southern Machine Co., 401 F.2d at 381). It would be patently unreasonable for the

Court to exercise specific personal jurisdiction over the Defendants where they

have not undertaken acts that caused the Subject Calls to be made. In other words

there is no connection substantial enough with Michigan as a forum because there

were no actions taken by Defendants or consequences caused by Defendants in the

first place.

       Thus, specific jurisdiction is lacking because there were no contacts with

Michigan by Defendants out of which the cause of action arises. Accordingly, this

Court should dismiss the Complaint for lack of personal jurisdiction, both general

and specific, over Defendants.

       D.      NOTWITHSTANDING    THE   LACK   OF    PERSONAL
               JURISDICTION OVER DEFENDANTS, COUNT III FAILS TO
               STATE A CLAIM UPON WHICH RELIEF MAY BE
               GRANTED AND SHOULD BE DISMISSED WITH
               PREJUDICE.

       In Count III, Plaintiff asserts a purported violation of FCC regulations, 47

C.F.R. § 64.1601(e), but his claims lacks a viable private right of action and

therefore must be dismissed with prejudice.


                                         11
Case 2:19-cv-13094-TGB-EAS ECF No. 4, PageID.48 Filed 10/29/19 Page 21 of 23




      Specifically, in Count III of the Complaint, Plaintiff alleges that Defendants

violated 47 C.F.R. § 64.1601(e) by “spoofing” the caller identification number

that was transmitted with the Subject Calls. Compl. ¶ 53. 47 C.F.R. § 64.1601(e)

was implemented pursuant to subsection d of the TCPA, which provides for certain

procedural and technical standards for telemarketing calls. Only subsections b and

c of the TCPA provide for a private right of action. See 47 U.S.C. §§ 227(b)(3); 47

U.S.C. § 227(c)(5). Because only subsections b and c provide for a private right of

action, no private right of action exists for an alleged violation of 47 C.F.R. §

64.1601(e). Worsham v. Travel Options, Inc., CIVIL NO. JKB-14-2749, 2016

U.S. Dist. LEXIS 118774, at *19-20 (D. Md. Sept. 2, 2016) (“[A]n asserted

violation of 47 C.F.R. § 64.1601(e)(1) is not properly brought under either the

TCPA’s subsection b or subsection c . . . [and] any violation of § 64.1601(e)(1) is a

violation of technical and procedural standards under subsection d, . . . [for which]

no provide right of action exists.”); Meyer v. Capital All. Grp., Case No.: 15-CV-

2405-WVG, 2017 U.S. Dist. LEXIS 183690 at *43, 45-47 (S.D. Cal. Nov. 6, 2017)

(adopting the reasoning in Worsham and the Supreme Court’s guidance that courts

may not create a private right of action where none has been expressly provided

and therefore holding that section 64.1601(e) does not provide for a private right of

action (citing Ziglar v. Abbasi, 137 S. Ct. 1843, 1855-56 (2017) (“If the statute




                                         12
Case 2:19-cv-13094-TGB-EAS ECF No. 4, PageID.49 Filed 10/29/19 Page 22 of 23




does not itself so provide, a private right of action will not be created through

judicial mandate.”); Worsham, 2016 U.S. Dist. LEXIS 118774, at *11-12)).

      Accordingly, Count III must be dismissed with prejudice.

                                III.    CONCLUSION
      WHEREFORE, Defendants, by counsel, respectfully request that this Court

(i) enter an Order dismissing the Complaint as to each Defendant for lack of

personal jurisdiction, (ii) or, in the alternative, dismissing Counts II, III, and IV for

failure to state a viable cause of action, and (iii) for such further relief as the Court

deems necessary and just.

                                       Respectfully submitted,

                                       MILLER, CANFIELD, PADDOCK AND
                                       STONE, PLC

                                       By:    /s/ Emily C. Palacios
                                              Emily C. Palacios (P64941)
                                              101 North Main Street, 7th Floor
                                              Ann Arbor, MI 48104
                                              (734) 668-7784
                                              (734) 747-7147
                                              palacios@millercanfield.com

                                              and




                                             13
Case 2:19-cv-13094-TGB-EAS ECF No. 4, PageID.50 Filed 10/29/19 Page 23 of 23




                                         Mitchell N. Roth (pro hac vice
                                         forthcoming)
                                         Genevieve C. Bradley (admitted)
                                         ROTH JACKSON
                                         8200 Greensboro Drive, Suite 820
                                         McLean, Virginia 22102
                                         (703) 485-3536
                                         (703) 485-3525
                                         mroth@rothjackson.com
                                         gbradley@rothjackson.com

                                         Counsel for Defendants SunPath Ltd.,
                                         Andrew M. Garcia, and Joseph A.
                                         Abraham
October 29, 2019



                        CERTIFICATE OF SERVICE

 I hereby certify that on October 29, 2019, I electronically filed the foregoing
document with the Clerk of the Court using the court’s electronic filing system,
which will send notification of such filing to all parties of record, and caused a
copy to be served by first-class U.S. Mail to Mark W. Dobronski at P.O. Box
85547, Westland, MI 48185-0547.

                                     /s/ Emily C. Palacios




                                       14
